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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO.

 EDDIE I. SIERRA,

        Plaintiff,

 vs.


 MC MIAMI ENTERPRISES, LLC d/b/a
 MR. CHOW OF MIAMI, a Florida limited
 liability company,

        Defendant.
  _____________________________________/

                                           COMPLAINT

        Plaintiff EDDIE I. SIERRA, through undersigned counsel, sues Defendant MC MIAMI

 ENTERPRISES, LLC d/b/a MR. CHOW OF MIAMI, a Florida limited liability company, and

 alleges as follows:

        1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

 Americans with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R.

 Part 36. This is also an action for declaratory and injunctive relief to prevent discrimination which

 includes equal access to internet Website for services to order and secure information about

 Defendant’s dealers online and their physical location.

        2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

 U.S.C. §1331 and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief

 pursuant to 28 U.S.C. §§ 2201 and 2202.

        3.      Venue is proper in this Court as all actions complained of herein occurred in the

 Southern District of Florida.
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        4.      Plaintiff EDDIE I. SIERRA is a resident of Miami-Dade County, Florida, is sui

 juris, and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C.

 §12101 (“ADAAA”).

        5.      Plaintiff is and at all relevant times has been hearing disabled in that he suffers from

 profound sensorineural hearing loss, a permanent disease and medical condition that substantially

 and significantly impairs his ability to hear. Plaintiff thus is substantially limited in performing

 one or more major life activities, including, but not limited to, hearing every day sounds and

 accurately understanding his world. As such, he is a member of a protected class under the ADA,

 42 U.S.C. § 12102(1)-(2), the regulations implementing the ADA set forth at 28 CFR §§ 36.101,

 et seq., and in 42 U.S.C. §3602(h).

        6.      Because he is hearing disabled, Plaintiff cannot use his computer to view and

 comprehend all video content on websites without the assistance of appropriate and available

 closed captioning.

        7.      Defendant is a Florida limited liability company authorized to do business and

 doing business in the State of Florida. Defendant owns and operates a chain of full- service

 restaurants, including at its restaurant Plaintiff intended to patronize at 2201 Collins Avenue,

 Miami Beach, Florida.

        8.      Plaintiff’s hearing disability limits him in the performance of major life activities,

 including hearing, and he requires assistive technologies, auxiliary aids and services for effective

 communication like hearing aids, IP Relay Service, text messages, closed captioning, and instant

 messages communication in connection with the use of his computer.

        9.      Plaintiff frequently accesses the internet.       Because he is significantly and

 permanently hearing disabled, in order to effectively communicate and comprehend information



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 available on the internet and thereby access and comprehend video content on company websites,

 Plaintiff requires that the websites contain commercially available closed captioning for the video

 content on various websites. Plaintiff also requires the use of assistive technologies, auxiliary aids

 and other services for effective communication, including IP Relay Service, text messages, and

 instant messages communication in connection with the use of his computer.

        10.        At all times material hereto, Defendant was and still is an organization that owns

 and operates a chain of full-service restaurants under the brand name “Mr. Chow”. Each Mr.

 Chow’s restaurants are open to the public. As the owner and operator of these restaurants,

 Defendant is defined as a place of “public accommodation" within meaning of Title III because

 Defendant is a private entity which owns and/or operates “[A] bakery, grocery dealer, clothing

 dealer, hardware dealer, shopping center, or other sales or rental establishment,” per 42 U.S.C.

 §12181(7)(E) and 28 C.F.R. §36.104(2).

        11.        Because Defendant is a full service restaurant open to the public, each of

 Defendant’s physical restaurants is a place of public accommodation subject to the requirements

 of Title III of the ADA and its implementing regulation; 42 U.S.C. §12182, §12181(7)(E), and 28

 C.F.R. Part 36.

        12.     Defendant collectively with their other companies controls, maintains, and/or

 operates an adjunct website called https://www.mrchow.com (hereinafter the “Website”). One of

 the functions of the Website is to provide the public information on the various locations of

 Defendant’s restaurants that sell its foods throughout the United States and within the State of

 Florida. Defendant also sells to the public its gift cards and offers online reservations and private

 dining booking through the Website.




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        13.     The Website also services Defendant’s physical restaurants by providing

 information and a live video feed on its available products and branded merchandise, tips and

 advice, editorials, sales campaigns, events, and other information that Defendant is interested in

 communicating to its customers.

        14.     Because the Website allows the public the ability to locate Defendant’s physical

 restaurants, make online reservations to dine in the physical restaurants, book private parties at the

 physical restaurants, purchase gift cards for use in the physical restaurants, and sign up for an

 electronic emailer to receive offers, benefits, exclusive invitations, and discounts for use in the

 physical restaurants, the Website is an extension of, and gateway to, Defendant’s physical

 restaurants. By this nexus, the Website is characterized as an intangible service, privilege and

 advantage provided by a place of public accommodation as defined under the ADA and thus an

 extension of the services, privileges and advantages made available to the general public by

 Defendant through its brick and mortar locations and businesses.

        15.     Because the public can view and make reservations and book private events at

 Defendant’s physical restaurants, purchase gift cards for use at the physical restaurants, and sign

 up for an electronic emailer to receive offers, benefits, exclusive invitations, and discounts for use

 in the physical restaurants, the Website is an extension of, and gateway to, the physical restaurants,

 which are places of public accommodation pursuant to the ADA, 42 U.S.C. § 12181(7)(E). As

 such, the Website is an intangible service, privilege and advantage of Defendant’s brick and mortar

 locations that must comply with all requirements of the ADA, must not discriminate against

 individuals with hearing disabilities, and must not deny those individuals the same full and equal

 enjoyment of the services, privileges and advantages afforded to the non-disabled general public

 both online and in its physical restaurants.



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        16.     At all times material hereto, Defendant was and still is an organization owning and

 operating the Website. Since the Website is open to the public through the internet, by this nexus

 the Website is an intangible service, privilege and advantage of Defendant’s brick and mortar

 locations that must comply with all requirements of the ADA, must not discriminate against

 individuals with hearing disabilities, and must not deny those individuals the full and equal

 enjoyment of the services, privileges and advantages afforded to the non-disabled public both

 online and at the physical dealer. As such, Defendant has subjected itself and the Website to the

 requirements of the ADA.

        17.     Plaintiff is and has been in the past a customer of Defendant who is interested in

 patronizing, and intends to patronize in the near future, Defendant’s physical restaurants (including

 the restaurant at 2201 Collins Avenue, Miami Beach, Florida), and intends now and in the future

 to search for other brick and mortar locations, check hours of restaurant operation, compare food

 prices, purchase gift cards, and sign up for an electronic emailer to receive offers, benefits,

 exclusive invitations, and discounts for use at the Website or in Defendant’s physical restaurants.

        18.     The opportunity to shop and pre-shop Defendant’s food, purchase gift cards for use

 at the physical restaurants, make reservations to dine in the physical restaurants, and sign up for

 electronic emailer to receive offers, benefits, exclusive invitations and to sign up for an electronic

 emailer to receive offers, benefits, exclusive invitations, and discounts for use in the physical

 restaurants from his home are important accommodations for Plaintiff because traveling outside

 of his home as a hearing disabled individual is often difficult, hazardous, frightening, frustrating

 and confusing experience. Defendant has not provided its business information and Website video

 content in any other digital format that is accessible for use by deaf and hearing-impaired

 individuals who regularly use and rely upon closed captioning.



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        19.     Like many consumers, Plaintiff accesses numerous websites at a time to compare

 merchandise, prices, sales, discounts, and promotions. Plaintiff may look at several dozens of sites

 to compare features, discounts, promotions, and prices.

        20.     Beginning in the month of August 2019, Plaintiff attempted on a number of

 occasions to communicate with Defendant and utilize the Website to browse through the

 merchandise and online offers to educate himself as to the merchandise, sales, discounts, and

 promotions being offered, and with the intent to making a purchase through the Website or at one

 of the Defendant’s dealers.

        21.     Plaintiff utilizes the captioning option for video content that allows individuals who

 are hearing disabled to fully access and communicate with websites. Plaintiff also utilized

 commercially available IP Relay service to communicate with places he patronizes or intends to

 patronize. However, Defendant’s Website contains access barriers that prevents free and full use

 by hearing disabled individuals using keyboards and available closed captioning, specifically:

                a.      Video content with no captioning.

        22.     The Website also lacks prompting information and accommodations necessary to

 allow hearing disabled individuals who use closed captioning and IP Relay to locate and accurately

 interpret the information provided online to purchase Defendant’s merchandise from the Website.

        23.     Plaintiff attempted to locate an “accessibility” notice, statement or policy on the

 Website that would direct him to a webpage with contact information for disabled individuals who

 have questions and concerns about, or who are having difficulties communicating with, the

 Website. However, Plaintiff was unable to do so because no such policy was visible to Plaintiff.

 Plaintiff was also unable to locate on the Website a phone number for him to contact Defendant

 via an IP Relay Service for individuals with hearing impairments such as Plaintiff.



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        24.     The fact that Plaintiff could not communicate with or within the Website or with

 Defendant left him feeling excluded, as he is unable to participate in the same online computer

 shopping experience, with access to the information, merchandise, sales, discounts, and

 promotions as provided at the Website and for use in the physical locations as the non-hearing

 disabled public.

        25.     Plaintiff desires and intends to patronize Defendant’s physical restaurants and use

 the Website but is unable to fully do so as he is unable to effectively communicate with Defendant

 due to his severe hearing disability and Defendant’s Website’s access barriers. Thus, Plaintiff, as

 well as others who are deaf or with hearing or visual disabilities, will suffer continuous and

 ongoing harm from Defendant’s intentional acts, omissions, policies, and practices as set forth

 herein unless properly enjoined by this Court.

        26.     Because of the nexus between Defendant’s retail restaurants and the Website, and

 the fact that the Website clearly provides support for and is connected to Defendant’s retail

 restaurants for its operation and use, the Website is an intangible service, privilege and advantage

 of Defendant’s brick and mortar restaurants that must comply with all requirements of the ADA,

 must not discriminate against individuals with disabilities, and must not deny those individuals the

 same full and equal enjoyment of the services, privileges and advantages afforded to the non-

 disabled public both online and at the physical locations, which are places of public

 accommodations subject to the requirements of the ADA.

        27.     On information and belief, Defendant has not initiated a proper and effective Web

 Accessibility Policy to ensure full and equal use of the Website by individuals with disabilities or

 provided an IP Relay number for hearing impaired individuals to communicate with Defendant.




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         28.     On information and belief, Defendant has not instituted a proper and effective Web

 Accessibility Committee to ensure full and equal use of Website by individuals with disabilities.

         29.     On information and belief, Defendant has not designated a proper and effective

 employee as a Web Accessibility Coordinator to ensure full and equal use of the Website by

 individuals with disabilities.

         30.     On information and belief, Defendant has not instituted a proper and effective Web

 Accessibility User Accessibility Testing Group to ensure full and equal use of the Website by

 individuals with disabilities.

         31.     On information and belief, Defendant has not instituted a proper and effective User

 Accessibility Testing Group to ensure full and equal use of the Website by individuals with

 disabilities.

         32.     On information and belief, Defendant has not instituted a proper and effective Bug

 Fix Priority Policy.

         33.     On information and belief, Defendant has not instituted a proper and effective

 Automated Web Accessibility Testing program.

         34.     On information and belief, Defendant has not created and instituted a proper and

 effective Specialized Customer Assistance line or service or email contact mode for customer

 assistance for the hearing disabled.

         35.     On information and belief, Defendant has not created and instituted on the Website

 a page a proper and effective method for individuals with disabilities, nor displayed a link and

 information hotline, nor created a proper and effective information portal explaining when and

 how Defendant will have the Website, applications, and digital assets accessible to the hearing

 disabled or deaf community.



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        36.     On information and belief, the Website does not meet the Web Content

 Accessibility Guidelines (“WCAG 2.0”) 2.0 Level AA or higher of web accessibility. The

 international website standards organization, W3C, has published widely accepted guidelines

 (“WCAG 2.0 AA”) for making video content accessible to individuals with disabilities. These

 guidelines have been endorsed by the United States Department of Justice, the Federal Courts and

 adopted by the United States Access Board, an independent federal agency that promotes equality

 for people with disabilities, as the standard for the federal government.

        37.     On information and belief, Defendant has not disclosed to the public any intended

 audits, changes, or lawsuits to correct the inaccessibility of the Website to hearing disabled

 individuals who want the safety and privacy of purchasing Defendant’s merchandise offered on

 the Website online from their homes.

        38.     Thus, Defendant has not provided full and equal enjoyment of the services,

 facilities, privileges, advantages, and accommodations provided by and through the Website, in

 contravention of the ADA.

        39.     For this, public accommodations under the ADA must ensure that their places of

 public accommodation provide effective communication for all members of the general public,

 including individuals with disabilities such as Plaintiff.

        40.     The broad mandate of the ADA is to provide an equal opportunity for individuals

 with disabilities to participate in and benefit from all aspects of American civic and economic life.

 That mandate extends to internet shopping websites, such as the Website.

        41.     On information and belief, Defendant is, and at all times has been, aware of the

 barriers to effective communication within the Website which prevent individuals with disabilities

 who are hearing disabled from the means to comprehend information presented therein.



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          42.     On information and belief, Defendant is aware of the need to provide proper and

  effective full access to all visitors to the Website.

          43.     The barriers that exist on the Website result in discriminatory and unequal

  treatment of individuals with disabilities who are hearing disabled, including Plaintiff.

          44.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

  to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

  in connection with its website access and operation.

          45.     Notice to Defendant is not required because of Defendant’s failure to cure the

  violations.

          46.     Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

  U.S.C. §§ 2201 and 2202.

          47.     Plaintiff has retained the undersigned attorneys to represent him in this case and

  has agreed to pay them a reasonable fee for their services.

                              COUNT I – VIOLATION OF THE ADA

          48.     Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.

          49.     Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public accommodation under

  the ADA because it owns and/or operates the Website, as defined within §12181(7)(E) and is

  subject to the ADA.

          50.     Pursuant to 42 U.S.C. §12182, no individual shall be discriminated against by

  reason of such disability in the full and equal enjoyment of the goods, services, facilities,

  privileges, advantages, or accommodations of any place of public accommodation.




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         51.     Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

  because it provides the general public with the ability to locate Defendant’s physical restaurants,

  make online reservations, purchase gift cards for at the physical restaurants and sign up for an

  electronic emailer to receive offers, benefits, exclusive invitations, and discounts for use at the

  physical dealers. The Website thus is an extension of, gateway to, and intangible service, privilege

  and advantage of Defendant’s physical dealers. Further, the Website also serves to augment

  Defendant’s physical dealers by providing the public information on the various physical locations

  of the dealers and by educating the public as to Defendant’s available merchandise sold through

  the Website and at the physical dealers.

         52.     Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(II), it is unlawful

  discrimination to deny individuals with disabilities or a class of individuals with disabilities an

  opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

  or accommodation, which is equal to the opportunities afforded to other individuals.

         53.     Specifically, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(II), unlawful

  discrimination includes, among other things, “a failure to make reasonable modifications in

  policies, practices, or procedures, when such modifications are necessary to afford such goods,

  services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

  unless the entity can demonstrate that making such modifications would fundamentally alter the

  nature of such goods, services, facilities, privileges, advantages or accommodations.”

         54.     In addition, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(III), unlawful

  discrimination also includes, among other things, “a failure to take such steps as may be necessary

  to ensure that no individual with a disability is excluded, denied services, segregated or otherwise

  treated differently than other individuals because of the absence of auxiliary aids and services,



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  unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

  the good, service, facility, privilege, advantage, or accommodation being offered or would result

  in an undue burden.”

            55.   Defendant’s Website must comply with the ADA, but it is not, as specifically

  alleged hereinabove and below.

            56.   Because of the inaccessibility of the Website, individuals with disabilities who are

  hearing disabled are denied full and equal enjoyment of the information and services that

  Defendant has made available to the public on its Website, and at the physical location and/or

  place of public accommodation, in violation of 42 U.S.C. §12101, et seq, and as prohibited by 42

  U.S.C. §12182, et seq.

            57.   Defendant has failed to provide auxiliary aids and services for the video content

  referenced in ¶21 above, including but not limited to “qualified interpreters on-site or through

  video remote interpreting (VRI) services; note takers; real-time computer-aided transcription

  services; written materials; exchange of written notes; telephone handset amplifiers; assistive

  listening devices; assistive listening systems; telephones compatible with hearing aids; closed

  caption decoders; open and closed captioning, including real-time captioning; voice, text, and

  video-based telecommunications products and systems, including text telephones, videophones,

  and captioned telephones, or equally effective telecommunications devices; videotext displays;

  accessible electronic and information technology; or other effective methods of making aurally

  delivered information available to individuals who are deaf or hard of hearing.” 28 C.F.R. §

  35.104.

         58.      The Website was subsequently visited by Plaintiff’s web expert, Robert D. Moody,

  in September 2019, and the web expert determined that the same access barrier that Plaintiff had



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  initially encountered existed as of that date. Defendant thus has made insufficient material changes

  or improvements to the Website to enable its full use, enjoyment and accessibility for hearing

  disabled persons such as Plaintiff since the time Plaintiff first tried to access the Website in August

  2019. The Website is and continues to be not fully accessible to users who are deaf and hearing

  disabled, including, but not limited to, having the following access barrier:

                  a. Videos content with no captioning.

  See, Expert Declaration and Curriculum Vitae of Robert D. Moody, attached as Composite Exhibit

  “A”.

          59.     A video capture of the video content at issue with the Website was also reviewed

  by Plaintiff’s captioning expert, Tanya Ward English, who prior to executing a sworn declaration,

  performed an independent review of the Website. Plaintiff’s captioning expert concluded that the

  issues claimed by Plaintiff do in fact exist and that Defendant is not in compliance with WCAG 2.0

  and 2.1. These barriers are pervasive and include, but are not limited to the following:

                  a.     Videos content with no captioning.

  See, Expert Declaration and Curriculum Vitae of Tanya Ward English, attached as Composite

  Exhibit “B”.


          60.     More violations may be present on other pages of the Website, which can and will

  be determined and proven through the discovery process in this case.

          61.     Further, the Website does not offer or include the universal symbol for the disabled

  that would permit disabled individuals to access the Website’s accessibility information and

  accessibility facts.

          62.     These are readily available, well established guidelines on the internet for making

  Websites accessible to the deaf and hearing disabled. These guidelines have been followed by


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  other large business entities in making their websites accessible. Examples of such guidelines

  include, but not limited to, adding alt-text to graphics and ensuring that all functions can be

  performed using a keyboard. Incorporating such basic components to make the Website accessible

  would neither fundamentally alter the nature of Defendant’s business nor would it result in an

  undue burden to the Defendant.

         63.     Defendant has violated the ADA -- and continues to violate the ADA -- by denying

  access to the Website by individuals, such as Plaintiff, with hearing or other disabilities who

  requires the assistance of interface with closed captioning and screen reading to comprehend and

  access internet websites. This violation within the Website is ongoing.

         64.     The ADA and ADAAA require that public accommodations and places of public

  accommodation ensure that communication is effective.

         65.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “assistive

  listening system, text, and video-based telecommunications products and systems”. Indeed, 28

  C.F.R. §36.303(b)(1) specifically states that closed captioning is an effective method of delivering

  material available to individuals who are deaf or hard of hearing.

         66.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

  appropriate auxiliary aids and services where necessary to ensure effective communication with

  individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

  in accessible formats, in a timely manner, and in such a way as to protect the privacy and

  independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

         67.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

  subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by




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  public accommodations, and requires places of public accommodation to be designed, constructed,

  and altered in compliance with the accessibility standards established by Part 36.

         68.     As alleged hereinabove, the Website has not been designed to interface with the

  widely and readily available technologies that can be used to ensure effective communication, and

  thus violates the ADA.

         69.     As a direct and proximate result of Defendant’s failure to provide an ADA

  compliant Website, with a nexus to its brick and mortar physical dealers locations, Plaintiff has

  suffered an injury in fact by being denied full access to and enjoyment of Defendant’s Website

  and physical dealers.

         70.     Because of the inadequate development and administration of the Website, Plaintiff

  is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

  ongoing disability discrimination.

         71.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

  Plaintiff appropriate and necessary injunctive relief; including an order to:

         a) Require Defendant to adopt and implement a proper and effective web accessibility

  policy to make publicly available and directly link from the homepage of the Website to a

  statement as to the Defendant’s policy to ensure persons with disabilities have full and equal

  enjoyment of the services, facilities, privileges, advantages, and accommodations through the

  Website.

         b) Require Defendant to take the necessary steps to make the Website readily accessible

  to and usable by hearing disabled users, and during that time period prior to the Website’s being

  readily accessible, to provide an alternative methods (such as an IP Relay Service contact

  information) for individuals with hearing disabilities to be able to contact Defendant and access



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  the information available on the Website until such time that the requisite modifications are made,

  and

         c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

  hearing impairments will be able to effectively communicate with Defendant and the Website for

  purposes of viewing and locating Defendant’s physical dealers and locations, and becoming

  informed of and purchasing Defendant’s merchandise online, and during that time period prior to

  the Website’s being designed to permit individuals with hearing disabilities to effectively

  communicate, to provide an alternative method for individuals with hearing disabilities to

  effectively communicate with Defendant for such goods and services made available to the general

  public through the Website and in its physical locations.

         72.      Plaintiff is entitled to recover his reasonable attorney’s fees, costs and expenses

  pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

  for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

  services.

         WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

  the following relief:

         A. A declaration that Defendant’s Website and Defendant’s practices and omissions are

               in violation of the ADA;

         B. An Order requiring Defendant, by a date certain, to effectively update the Website, and

               continue to monitor and update the Website (on an ongoing basis), to remove barriers

               and add proper and effective closed captioning on all video content on its Website and

               include alternative ways to access images or visual information (e.g., graphs, charts,

               animations, or URLs on slides), such as audio description, alternative text, PDF files,



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          or Word documents, in order for individuals with hearing and other visual disabilities

          to be able to access, and continue to access, the Website and effectively communicate

          with the Website to the full extent required by Title III of the ADA;

       C. An Order requiring Defendant to develop and implement procedures to ensure that their

          online content conforms to the generally accepted accessibility technical standards, (to

          the extent necessary) so that individuals with vision, hearing and manual disabilities

          can acquire the same information, engage in the same interactions, and enjoy the same

          services as individuals without disabilities with substantially equivalent ease of use

       D. An Order requiring Defendant to develop and implement procedures to ensure that

          Defendant’s content on the Website or YouTube channel or videos conforms to the to

          the generally accepted accessibility technical standards, to the extent necessary so that

          individuals with vision, hearing, and manual disabilities can acquire the same

          information, engage in the same interactions, and enjoy the same services as individuals

          without disabilities with substantially equivalent ease of use.

       E. An Order requiring Defendant to develop and implement procedures to ensure that

          Defendants Website content on their Website, iTunes, Instagram, Facebook, Twitter,

          Snapchat, LinkedIn, Tiktok, or YouTube platform conforms to generally accepted

          accessibility technical standards (to the extent necessary) so that individuals with

          vision, hearing, and manual disabilities can acquire the same information, engage in

          the same interactions, and enjoy the same services as individuals without disabilities

          with substantially equivalent ease of use.

       F. An Order requiring Defendant to develop effective mechanisms and implement

          effective procedures for Defendant to solicit, receive and respond to feedback regarding



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          any barriers to access to the online content on their Website, iTunes, Instagram,

          Facebook, Twitter, Snapchat, LinkedIn, Tiktok, or YouTube channels or platform, as

          well as feedback on how to improve the accessibility of that content.

       G. An Order requiring Defendant, by a date certain, to clearly display the universal

          disabled logo within the Website, wherein the logo 1 would lead to a page which would

          state Defendant’s accessibility information, provide a IP Relay Service contact

          information and other relevant facts, policies, and accommodations. Such a clear

          display of the disabled logo is to ensure that individuals who are disabled are aware of

          the availability of the accessible features of the Website;

       H. An Order requiring Defendant, by a date certain, to provide ongoing support for web

          accessibility by implementing a proper and effective website accessibility coordinator,

          a website application accessibility policy, and providing for website accessibility

          feedback to ensure compliance thereto;

       I. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

          procedures toward persons with disabilities, for such reasonable time to allow

          Defendant to undertake and complete corrective procedures to its Website, policies,

          practices and procedures;

       J. An Order directing Defendant, by a date certain, to establish a proper and effective

          policy of web accessibility and accessibility features for the Website to ensure effective

          communication for individuals who are hearing disabled and provide an IP Relay

          Service contact information;




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       K. An Order requiring, by a date certain, that any third-party vendors who participate on

          Defendant’s Website to be fully accessible to the hearing and visually disabled;

       L. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

          provide mandatory web accessibility training to all employees who write or develop

          programs or code for, or who publish final content to, the Website on how to conform

          all web content and services with ADA accessibility requirements and applicable

          accessibility guidelines;

       M. An Order directing Defendant, by a date certain and at least once every three months

          thereafter, to conduct proper and effective automated accessibility tests of the Website

          to identify any instances where the Website is no longer in conformance with the

          accessibility requirements of the ADA and any applicable accessibility guidelines, and

          further directing Defendant to send a copy of the twelve (12) quarterly reports to

          Plaintiff’s counsel for review;

       N. An Order directing Defendant, by a date certain, to make publicly available and directly

          link from the Website homepage, a statement of Defendant’s Accessibility Policy to

          ensure the persons with disabilities have full and equal enjoyment of the Website and

          shall accompany the public policy statement with an accessible means of submitting

          accessibility questions and problems;

       O. An award to Plaintiff of his reasonable attorney’s fees, costs and expenses; and

       P. Such other and further relief as the Court deems just and equitable.




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        DATED: February 3, 2020.


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